                                                                                Motion (87) is GRANTED
                                                                                and Doc. No. 88 shall be
                                                                                sealed.
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION
                                                                                US DISTRICT JUDGE
UNITED STATES OF AMERICA                          )
                                                  )
      v.                                          )           NO. 3:25-CR-00115
                                                  )
                                                  )           JUDGE CRENSHAW
KILMAR ARMANDO ABREGO GARCIA                      )

              MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

       COMES NOW the United States of America, by and through the undersigned Acting United

States Attorney, Robert E. McGuire, and moves this Court to allow the United States to file

documents under seal in this case.

       The United States notes that the Administrative Practices and Procedures for Electronic

Case Filing (ECF) requires parties to file a motion seeking leave of the court prior to filing any

documents electronically under seal. Therefore, because the documents the United States intends

to file contain protected, confidential information, the United States respectfully requests that the

court permit the filing of those documents under seal.

                                                      Respectfully submitted,

                                                          s/ Robert McGuire
                                                      ROBERT McGUIRE
                                                      Acting United States Attorney
                                                      719 Church Street, Suite 3300
                                                      Nashville, Tennessee 37203




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